Case 2:04-Cr-20496-BBD Document 32 Filed 07/08/05 Page 1 of 5 PageiD 33

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UN|TED STATES OF AMER|CA

mill M.GOUD
-v- _ 2:04cR20496-01-o aE*,<‘UL@§ WWM
Hueo RlvERA PENA

Edwin Per[y, FPD
Defense Attorney

200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on |V|arch 30, 2005. Accordingiy,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Tiue s section er_wfo_fi@_§ offense Number(s)
Conciuded
8 U.S.C. §§ 1326(a)(2) Unlawfui Re-Entry into the United 07/02/2004 1

and (b)(2) States

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

|T iS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until ali
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 10/06/1974 June 30, 2005
Deft’s U.S. Niarshai No.: 20066-076

Defendant’s iV|aiiing Address:
837 Waver|y
San Antonio, TX 78201

RN|CE B. DONALD
UN|TED STATES D|STR|CT JUDGE

July g , 2005

This document entered on the docket sheet in compliancey
with nine ss emi/er 32(b) mch en ~/ 'O

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Case No: 2:04CR20496-01 Defendant Name: Hugo Rivera PENA Page 2 of 4
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 63 Months.

The Court recommends to the Bureau of Prisons:
That defendant serve his sentence as close as possible to San Antonio, TX.

The defendant is remanded to the custody of the United States Marsha|.

RETURN

| have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES iVlARSHAL
By:

 

Deputy U.S. i\liarsha|

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Case No: 2:04CR20496-01 Defendant Name: Hugo Rivera PENA Page 3 of4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submits tmthfui and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, trainingl or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess. use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation ocher to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:04CR20496-01 Defendant Name: Hugo Rivera PENA Page 4 of 4

10. The defendant shall notify the probation ofhcer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ofhcer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Crlminai Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. Pursuant to 18 U.S.C. 3583(d), the defendant is to be delivered, upon release from
imprisonment to a duly authorized immigration official to determine if deportation is
appropriate. Shou|d deportation be orderedl the defendant is to remain outside the United
States, unless authorized by the United States Attorney Generai.

2. The defendant shall cooperate with DNA collection as directed by the Probation Officer.

CRfMlNAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant
shall pay interest on any fine or restitution of more than $2,500, unless the fine or
restitution is paid in full before the fifteenth day after the date of judgmentl pursuant to
18 U.S.C. § 3612(f). A|| of the payment options in the Scheduie of Payments may be
subject to penalties for defauit and delinquency pursuant to 18 U.S.C. § 3612(9).

Totai Assessment Totai Fine Totai Restitution
$100.00

The Specia| Assessment shall be due immediate|y.

FlNE
No fine imposed.

REST|TUT|ON
No Restitution was imposed.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
ease 2:04-CR-20496 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

Edwin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Berniee Donald
US DISTRICT COURT

